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9                            UNITED STATES DISTRICT COURT
10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                            CASE NO. CV13-00730-AB (AJWx)
       THE BOEING COMPANY, et al.,
12                                            [PROPOSED] ORDER GRANTING
                   Plaintiffs,                PLAINTIFFS’ MOTION IN LIMINE
13                                            NO. 2: MOTION TO EXCLUDE
             vs.                              EXPERT OPINIONS AND
14                                            TESTIMONY FROM LAWRENCE
       KB YUZHNOYE, et al.,                   CUNNINGHAM
15
                   Defendants.                Complaint Filed: February 1, 2013
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                                              Hearing Date:     November 2, 2015
17                                            Time:             11:00 a.m.
                                              Judge:            Hon. André Birotte
18                                            Place:            Courtroom 680
19                                            Pretrial Conf.:   November 2, 2015
                                              Trial:            November 10, 2015
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                                     #:47203


1            On October 13, 2015, Plaintiffs The Boeing Company and Boeing Commercial
2      Space Company (collectively, “Plaintiffs”) submitted a Motion in Limine No. 2:
3      Motion to Exclude Expert Opinions and Testimony from Lawrence Cunningham. A
4      hearing on the Motion was held in the above-captioned Court, at which counsel for
5      Plaintiffs, and counsel for Energia Logistics Ltd. and Energia Overseas LLC (the
6      “Subsidiaries”), appeared. Having carefully considered the papers submitted in support
7      of and in opposition to the Motion, as well as the arguments of counsel, and for good
8      cause shown, the Court hereby GRANTS Plaintiffs’ Motion and ORDERS as follows:
9            1.    The opinions and testimony of Lawrence Cunningham shall be excluded
10                 from the trial in this case;
11           2.    Counsel for the Subsidiaries shall not refer to the opinions or testimony of
12                 Lawrence Cunningham at trial.
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14           IT IS SO ORDERED.
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       DATED:                    , 2015
17                                                    The Honorable André Birotte
18                                                     United States District Court
                                                      Central District of California
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